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12   *Pro hac vice application pending
13                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
14
      REPUBLICAN NATIONAL COMMITTEE,
15    NEVADA REPUBLICAN PARTY, and SCOTT
      JOHNSTON,                                                    No. 2:24-cv-00518-CDS-MDC
16
                             Plaintiffs,
17           v.
                                                                   OBJECTIONS TO
18    FRANCISCO AGUILAR, in his official capacity as               REPORT AND RECOM-
      Nevada Secretary of State; LORENA PORTILLO, in               MENDATION ON MO-
19    her official capacity as the Registrar of Voters for Clark   TION TO INTERVENE
      County; WILLIAM “SCOTT” HOEN, AMY                            [ECF No. 68]
20    BURGANS, STACI LINDBERG, and JIM
21    HINDLE, in their official capacities as County Clerks,
                             Defendants.
22
23
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25
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1                                       INTRODUCTION
2           The proposed intervenors have no right to help the State litigate this case. Plain-
3    tiffs allege that Nevada is falling short of its federally mandated duty to maintain accurate
4    voter rolls. This case will turn on what procedures Nevada uses to remove ineligible
5    voters, whether those procedures are sufficient, and whether those procedures are con-
6    sistently followed. The proposed intervenors’ concerns lie elsewhere.
7           To start, they have not shown a legally protectable interest in this matter. Their
8    concern is that if Plaintiffs prove that Nevada is violating the NVRA, then the remedy for
9    that violation might illegally sweep in eligible voters. But that interest is premature and
10   hypothetical—nothing about this case, Plaintiffs’ requested relief, or enforcement of the
11   NVRA will result in eligible voters being improperly removed from the rolls. In any
12   event, those interests are adequately represented by the state defendants. Two different
13   presumptions of adequate representation apply because the State defendants have a stat-
14   utory obligation to protect eligible voters and seek the same ultimate objective as pro-
15   posed intervenors. And the proposed intervenors have no evidence that the State’s rep-
16   resentation will be deficient or that the defendants will otherwise fail to litigate this case
17   effectively.
18          Intervention will also impose substantial costs on the parties while providing no
19   benefit to the Court. Adding three new parties will encumber scheduling, increase the
20   costs of litigation, and slow down proceedings. In the midst of election season, those
21   setbacks are substantial. And the proposed intervenors will bring nothing new to the
22   table—they have identified no arguments or positions they would take that the State
23   would be unwilling to press. Their participation is at best superfluous. More likely, it will
24   increase burdens on the parties and the Court.
25                                                2
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1           For these reasons, federal courts routinely deny intervention to parties attempting
2    to help the State litigate NVRA cases. See, e.g., Pub. Int. Legal Found. v. Benson, No. 1:21-
3    cv-929, 2022 WL 21295936, at *10-13 (W.D. Mich. Aug. 25, 2022); Green v. Bell, No.
4    3:21-cv-493, 2023 WL 2572210, at *6-7 (W.D.N.C. Mar. 20, 2023); Jud. Watch, Inc. v.
5    Griswold, No. 1:20-cv-2992, 2021 WL 4272719, at *5 (D. Colo. Sept. 20, 2021); Common
6    Cause Ind. v. Lawson, No. 1:17-cv-3936, 2018 WL 1070472, at *6 (S.D. Ind. Feb. 27, 2018);
7    Jud. Watch, Inc. v. King, No. 1:12-cv-800, 2013 WL 12290842, at *2 (S.D. Ind. Mar. 20,
8    2013); United States v. Florida, No. 4:12-cv-285, 2012 WL 13034013, at *3 (N.D. Fla. Nov.
9    6, 2012); Arcia v. Detzner, No. 1:12-cv-22282, 2012 WL 12844562, at *3 (S.D. Fla. Sept.
10   28, 2012). The proposed intervenors here have no better showing, and the Court should
11   deny the motion.
12          The report and recommendation invites this court to depart from this practice. It
13   found that proposed intervenors’ speculation was enough since a remedy in this case
14   might remove eligible voters. R&R (Doc. 68) 5. And far from the presumptions of ade-
15   quate representation, it applied a “minimal” standard satisfied by allegations that pro-
16   posed intervenors “may be affected” by this case. Id. at 6. It also dismissed the delay and
17   burdens inherent in adding parties because proposed intervenors don’t seek to add
18   claims. This Court should reject the report and recommendation, and deny the motion
19   to intervene.
20
21

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25                                                3
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1                                        BACKGROUND
2           The National Voter Registration Act requires each state to “conduct” a program
3    that makes a “reasonable effort to remove the names of ineligible voters” who have
4    moved or died. 52 U.S.C. 20507(a)(4). Plaintiffs—the Republican National Committee,
5    the Nevada Republican Party, and Scott Johnston—brought this suit to remedy Ne-
6    vada’s violation of this requirement.
7           State defendants have vigorously defended this suit. Shortly after the suit was

8    filed, the Secretary of State announced that he opposes the requested relief and would
     file a motion to dismiss. Nev. Sec’y of State, Nevada Secretary of State Issues Statement on
9
     Lawsuit Filed by the Republican National Committee, Nevada Republican Party (Mar. 29, 2024),
10
     https://perma.cc/UV9H-L7P4. That motion to dismiss has now been filed. Doc. 26.
11          Proposed intervenors—Rise Action Fund, the Institute for a Progressive Nevada,
12   and the Nevada Alliance for Retired Americans—seek to intervene as defendants in this
13   suit. They argued that they have a substantial interest in this suit because, among other

14   things, relief in this case might lead to the improper removal of one of their members.
     Doc. 7 at 12. They also argued that they would be forced to divert resources to avoid
15
     the removal of eligible voters. Id. at 13-14. According to proposed intervenors, their
16
     interests will not be adequately represented by the State because the state must consider
17   both the protection of eligible voters and the maintenance of accurate voter rolls. Id. at
18   17.
19          Plaintiffs opposed intervention. They explained that proposed intervenors did

20   not have a significantly protectable interest to support intervention as of right because
     their concern that this case might lead to a remedy that resulted in the improper removal
21
     of their members from the voter rolls was too speculative. Doc. 18 at 4-6. And because
22
     these interests were too speculative, proposed intervenors could not get around the lim-
23   its on intervention by diverting resources to address them. Id. at 6. They also explained
24   that two presumptions of adequate representation applied because the State was
25                                                4
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1    statutorily required to protect the interest of eligible voters and because the proposed
2    intervenors and state defendants had the same ultimate objective of dismissal. Id. at 7-9.
     Finally, Plaintiffs argued that permissive intervention was unwarranted because it would
3
     delay proceedings with an election approaching and proposed intervenors had not iden-
4
     tified any unique arguments that they would raise. Id. at 12-13.
5
            Magistrate Judge Couvillier issued a report recommending that proposed interve-
6    nors be allowed to intervene both as of right and through permissive intervention. The
7    report found that proposed intervenors had significant protectable interest because a
8    remedy in this case might remove eligible voters and they could be forced to divert
     resources to avoid the “potential consequences” of this litigation. Doc. 68 at 5. Turning
9
     to adequate representation, the report concluded that proposed intervenors was a “min-
10
     imal one” that had been met because their interest “may be affected.” Id. at 6. On per-
11
     missive intervention, the report concluded that there would be no undue delay because
12   proposed intervenors do not seek to add claims and this litigation is at an early stage.
13                                    LEGAL STANDARD
14          When a party objects to a magistrate judge’s recommendation, this Court’s review
15   is “de novo.” 28 U.S.C. §636(b)(1); see also Fed. R. Civ. P. 72 (“The district judge must
16   determine de novo any part a magistrate judge’s disposition that has been properly ob-
17   jected to.”). After review, this Court can “accept, reject, or modify, in whole or in part,
18   the findings or recommendations.” 28 U.S.C. §636(b)(1).
19                                         ARGUMENT
20     I.   The proposed intervenors do not have a right to intervene in this case.
21          To intervene as of right under Rule 24(a)(2), the proposed intervenors must file
22   a timely motion that shows: (1) they have a significantly protectable interest in this case;
23   (2) disposition of this case may impair their ability to protect that interest; and (3) their
24   interest is not adequately represented by existing parties to the litigation. Perry v.
25                                                5
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1    Proposition 8 Off. Proponents, 587 F.3d 947, 950 (9th Cir. 2009). They “bear[] the burden
2    of showing that all the requirements for intervention have been met.” United States v.
3    Alisal Water Corp., 370 F.3d 915, 919 (9th Cir. 2004). “Failure to satisfy any one of the
4    requirements is fatal to the application, and [the court] need not reach the remaining
5    elements if one of the elements is not satisfied.” Perry, 587 F.3d at 950.
6           A.     The proposed intervenors’ speculation that members might be re-
                   moved as a result of this litigation is not a significantly protectable
7                  interest.
8           To satisfy the interest requirement of Rule 24, the proposed intervenors must
9    show that they have an interest relating to this case. An interest is related to the case if
10   “the resolution of the plaintiff’s claims actually will affect” the intervenors. S. Cal. Edison
11   Co. v. Lynch, 307 F.3d 794, 803 (9th Cir. 2002) (citation omitted). The interest must be
12   “legally protected” and “significant,” and it cannot be “undifferentiated” or “general-
13   ized.” Alisal Water, 370 F.3d at 920.
14          The report and recommendation found that the proposed intervenors have a pro-
15   tectable interest because they “seek to prevent improper removal of their members from
16   Nevada’s voter lists.” R&R 5 (cleaned up). The report speculated that a remedy entered
17   by this Court “could also remove eligible voters.” Id.
18          The proposed intervenors’ interest in preventing improper removal of their mem-
19   bers is far too speculative to support intervention. To begin, the proposed intervenors
20   don’t have a “legally protected” interest in keeping ineligible voters on the rolls. Alisal
21   Water, 370 F.3d at 920. And the intervenors don’t claim such an interest. Instead, they
22   argue that the NVRA gives them a right to challenge the improper removal of their
23   members. See Doc. 7 at 12. But Plaintiffs’ lawsuit does not ask the State to remove
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25                                                6
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1    eligible voters who are properly included on the registration lists. Affording complete
2    relief to Plaintiffs in this case would not “actually … affect” the proposed intervenors’
3    interest in ensuring those eligible members remain registered. S. Cal. Edison, 307 F.3d at
4    803 (citation omitted). Their interest in challenging the improper removal of their mem-
5    bers is contingent on several events that have not yet occurred, including a determina-
6    tion that Nevada violated federal law (after motions practice, discovery, and potentially
7    a trial); a determination that the violations require Nevada to adopt new procedures
8    (rather than following existing procedures); and a proposed remedy that would require
9    Nevada to adopt unlawful, overbroad list-maintenance procedures that would result in
10   the improper removal of proposed intervenors’ members who are eligible to vote. Those
11   highly speculative events “fall[] far short of the ‘direct, non-contingent, substantial and
12   legally protectable’ interest required for intervention as a matter of right.” Id. (quoting
13   Dilks v. Aloha Airlines, 642 F.2d 1155, 1157 (9th Cir. 1981)). For this reason, a district
14   court in Michigan recently ruled that interests that “turn on some amount of increased
15   risk of future disenfranchisement,” do not “constitute a substantial legal interest” in a
16   NVRA case. Pub. Int. Legal Found., 2022 WL 21295936, at *11.
17         The report and recommendation confirms the speculative nature of the proposed
18   intervenors’ interest. The report doesn’t try to explain why preventing this Court from
19   improperly removing proposed intervenors’ members who are eligible voters is a direct,
20   non-speculative, and non-contingent interest in this case. Instead, it offers bald specula-
21   tion that relief in this case “could also remove eligible voters.” R&R 5.
22         The report and recommendation cannot save this defect by saying that it “takes
23   as true” the proposed intervenors “concerns.” R&R 5. A district court must “take as
24   true” the “nonconclusory allegations” of a proposed intervenor. Sw. Ctr. for Biological
25                                                7
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1    Diversity v. Berg, 268 F.3d 810, 820 (9th Cir. 2001). That means a court should treat pro-
2    posed intervenors asserted interests as true. But it does not permit a court to assume
3    that those asserted interests are substantial and nonspeculative.
4          Even if all the contingencies underlying proposed intervenors’ asserted interest
5    came to pass, they can litigate the potential improper removal of their members once
6    they have been “aggrieved by a violation of [the NVRA].” 52 U.S.C. §20510. Proposed
7    intervenors suggest that they might “lack sufficient time” to file their own lawsuit. Doc.
8    7 at 12 n.4. But the NVRA’s generous time provisions nullify those concerns. See 52
9    U.S.C. §20510(b)(3) (“If the violation occurred within 30 days before the date of an
10   election for Federal office, the aggrieved person need not provide notice … before
11   bringing a civil action….”). That the proposed intervenors haven’t pointed to a violation,
12   haven’t sent the NVRA-required notice letter, and haven’t filed a lawsuit are just con-
13   cessions that whatever concerns they have are not ripe.
14         The only other interest that report and recommendation cited was that proposed
15   intervenors “would be forced to divert their resources in order to combat the potential
16   consequences of plaintiffs’ claims.” R&R 5. But proposed intervenors cannot bootstrap
17   their speculative interests by spending resources to avoid theoretical impacts. Id. An
18   “economic interest” must be “non-speculative,” “concrete,” and “related to the under-
19   lying subject matter of the action.” Alisal Water, 370 F.3d at 919. And the report and
20   recommendation recognized that proposed intervenors’ resource diversion was based
21   on speculation: it was to “combat … potential consequences.” R&R 5 (emphasis added).
22   Since proposed intervenors’ underlying interests are speculative, whatever money they
23   spend in pursuit of those interests is likewise insufficient to support intervention. See
24   Pub. Int. Legal Found., 2022 WL 21295936, at *10 (ruling that an organization’s resource
25                                                8
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1    diversion failed to satisfy even the Sixth Circuit’s “expansive notion of the interest suf-
2    ficient to invoke intervention of right”). And “[w]here no protectable interest is present,
3    there can be no impairment of the ability to protect it.” Am. Ass’n of People with Disabilities
4    v. Herrera, 257 F.R.D. 236, 252 (D.N.M. 2008); see also Sierra Club v. EPA, 995 F.2d 1478,
5    1486 (9th Cir. 1993) (holding that the “third element of intervention as of right, impair-
6    ment,” generally “follows from” the second element).
7           Nor can any of proposed intervenors’ other interests—not mentioned in the re-
8    port and recommendation—provide a basis for intervention. Most of the proposed in-
9    tervenors’ interests have nothing to do with election administration, let alone Nevada’s
10   voter rolls. Rise’s mission, for example, is “fighting for free public higher education and
11   ending homelessness, housing insecurity, and food insecurity among college students.”
12   Doc. 7 at 4. Its priorities are “gun safety issues” and “student debt relief.” Doc. 7 at 5.
13   The Alliance for Retired Americans, meanwhile, works to “ensure the social and eco-
14   nomic justice” of retirees. Doc. 7 at 7. But this case is about Nevada’s compliance with
15   the NVRA, not guns, homelessness, or student debt. None of those interests are “related
16   to the underlying subject matter of the litigation.” Alisal Water, 370 F.3d at 920.
17          The proposed intervenors’ purported interests in registering voters are at least
18   election-related, but this case doesn’t concern those interests either. Institute for a Pro-
19   gressive Nevada, for example, claims an interest in providing “instructions on how to
20   register and how to vote in Nevada.” Doc. 7 at 6. But Plaintiffs’ complaint alleges that
21   the State is failing to remove ineligible voters from registration lists. It has nothing to do
22   with registering voters or the process of voting. Regardless of the outcome of this case,
23   the proposed intervenors can continue their efforts to help as many voters register and
24   vote as they are able.
25                                                9
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1            B.     The proposed intervenors failed to make a “very compelling show-
                    ing” that the State’s representation will be inadequate.
2
3            The report and recommendation misstated the standard when it found that pro-

4     posed intervenors are not adequately represented by the State. Ordinarily, “the require-

5     ment of inadequacy of representation” requires only a “minimal” showing that the “rep-

6     resentation of [the intervenors’] interests ‘may be’ inadequate.” Citizens for Balanced Use v.

7     Mont. Wilderness Ass’n, 647 F.3d 893, 898 (9th Cir. 2011). But that ordinary standard does

8     not apply here for two reasons. To start, courts must apply an “assumption of adequacy

9     when the government is acting on behalf of a constituency that it represents,” which

10    must be rebutted with a “very compelling showing.” Arakaki v. Cayetano, 324 F.3d 1078,

11    1086 (9th Cir. 2003) (emphasis added). In addition, “[w]here the party and the proposed

12    intervenor share the same ‘ultimate objective,’ a presumption of adequacy of represen-

13    tation applies, and the intervenor can rebut that presumption only with a ‘compelling

14    showing’ to the contrary.” Perry, 587 F.3d at 951 (citations omitted).

15           The report and recommendation did not find that the proposed intervenors had

16    made the “very compelling showing” that the State’s representation will be inadequate.

17    R&R 6. Instead, it announced that proposed intervenors’ “burden was a minimal one,”

18    and found they had met it by showing that the government’s interest “may interfere”

19    with proposed intervenors because the government must also ensure accurate voter

20    rolls. Id. (emphasis omitted).

21           The only reason hinted at for this lower burden in the report and recommenda-

22    tion fails a cursory review. The report said that intervention could be granted when the

23    intervenors’ interests are “narrower than that of the government and therefore may not

24    be adequately represented.” Id. (citation omitted). But the Ninth Circuit decision cited

25                                                 10
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1     for this proposition confirms that it is inapplicable here. In Arakaki, the Ninth Circuit
2     found that that principle was not applicable where the “State defendants” had ”specific
3     statutory and constitutional obligations to protect” the interests asserted by proposed
4     intervenors. 324 F.3d at 1087. Similarly here, the State represents the interests of voters.
5     The Secretary is “the Chief Officer of Elections” for Nevada and “is responsible for the
6     execution and enforcement” of list maintenance in compliance with the NVRA. Nev.
7     Rev. Stat. §293.124. “While the Proposed Intervenors also claim an interest in ensuring
8     such compliance, there is no reason to conclude that [the Secretary] … is unable to
9     litigate this case in a way that protects that interest.” Green, 2023 WL 2572210, at *6. Nor
10    can that statutory obligation be dismissed because the state defendants have “twin ob-
11    jectives” of “easing barriers to registration and voting, while at the same time protecting
12    electoral integrity and the maintenance of accurate voter rolls.” Bellitto v. Snipes, 935 F.3d
13    1192, 1198 (11th Cir. 2019). These objectives only confirm that Congress has charged
14    the State with representing the very interests that intervenors claim in this case. The
15    intervenors may prefer that the State ignore its duty to “protect[] electoral integrity,” but
16    the fact that the State is charged with that duty is hardly evidence that the State’s repre-
17    sentation of eligible voters will be inadequate. The report and recommendation’s con-
18    trary conclusion that the presumption doesn’t apply any time that a private party’s inter-
19    est could be described as “narrower” than the government despite a statutory obligation
20    would mean that the presumption never applies.
21           Proposed intervenors—but not the report and recommendation—suggest that
22    the “ultimate objective” presumption did not survive Berger v. North Carolina State Confer-
23    ence of the NAACP, 597 U.S. 179 (2022). Even if that were true, Berger explicitly confirmed
24    that it did not address the separate presumption that a private party is adequately
25                                                 11
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1     represented by the government: “we need not decide whether a presumption of ade-
2     quate representation might sometimes be appropriate when a private litigant seeks to
3     defend a law alongside the government.” 597 U.S. at 197. In any event, Berger never
4     addressed whether a presumption of adequate representation should apply when a pri-
5     vate intervenor seeks the same ultimate objective as a party. It held only that no pre-
6     sumption applies “when a duly authorized state agent seeks to intervene to defend a
7     state law.” Id. While it suggested in passing that similar—but not identical—interests
8     might not ordinarily be enough to trigger a presumption, it disclaimed resolving whether
9     a presumption applied “in any other circumstance.” Id.
10           The proposed intervenors have not shown that they share a different ultimate
11    objective from the State defendants. The proposed intervenors quibble that some of
12    their interests might not align perfectly with the State’s, but they undoubtedly share the
13    same ultimate objective: dismissal of the suit. See Arizonans for Fair Elections v. Hobbs, 335
14    F.R.D. 269, 275 (D. Ariz. 2020) (intervenors shared the same “ultimate objective” as the
15    State when both were “defending the constitutionality” of state laws); Perry, 587 F.3d at
16    951 (same). In fact, the State has already moved to dismiss this suit, and the proposed
17    intervenors have similarly submitted a motion to dismiss. See Docs. 21, 26. Not only do
18    these motions seek the same relief, but they also raise similar arguments.
19           Nor have proposed intervenors shown that the “ultimate objective” presumption
20    does not apply because they might have a broader reading of the restrictions on removal
21    in the NVRA. Doc. 20 at 9. In support of this argument, proposed intervenors cite a
22    decision where an agency defended an Interim Order that it was compelled to adopt
23    “under compulsion of a district court decision gained by Applicants” while “simultane-
24    ously appealing the decision.” Citizens for Balanced Use v. Montana Wilderness Ass’n, 647
25                                                 12
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1     F.3d 893, 899 (9th Cir. 2011). The Ninth Circuit recognized that these parties did not
2     have identical objectives where an intervenor sought to argue that the agency order was
3     “statutorily mandated,” and the agency was arguing that “much narrower restrictions
4     would … comply with its statutory mandate” in ongoing litigation. Id. That decision
5     stops far short of finding that the “ultimate objective” presumption is inapplicable any
6     time a private party might take a broader reading of some statutory provisions.
7            Neither the report and recommendation nor proposed intervenors have come
8     forward with any evidence to rebut these presumptions of adequate representation. Pro-
9     posed intervenors claim that other state officials in other cases “sometimes try to resolve
10    suits like this one through settlement.” Doc. 7 at 16. But that is not evidence that these
11    state officials will resolve this case through settlement. Indeed, all the evidence so far is
12    to the contrary—the Secretary and proposed intervenors have moved to dismiss on sim-
13    ilar grounds. The proposed intervenors also claim that “partisan or private actors” often
14    have interests that diverge from the government. But the partisan interests of the pro-
15    posed intervenors and Democratic Secretary of State are aligned in this case. Even if
16    they weren’t, the “Proposed Intervenors must do more than allege—and superficially at
17    that—partisan bias to meet it.” Miracle v. Hobbs, 333 F.R.D. 151, 156 (D. Ariz. 2019).
18    “Proposed Intervenors demonstrate no such deficiencies in the present case; indeed,
19    they cannot,” because the Secretary will defend this case and adequately represent the
20    intervenors’ interests. Id. at 155.
21           The cases finding inadequate representation only prove that intervention is not
22    warranted here. Courts have recognized a compelling showing of inadequate represen-
23    tation when the State “fail[s] to appeal the court’s judgment,” and “intervention [is] vital
24    to the defense of the law at issue.” Id. (citing Horne v. Flores, 557 U.S. 433, 443 (2009)).
25                                                 13
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1     Similarly, when the government “seeks to overturn on appeal the very court decision”
2     that protects the intervenors’ interests, intervenors can show inadequate representation.
3     Citizens for Balanced Use, 647 F.3d at 899. The state defendants are not employing such
4     tactics here. The two “election cases” the intervenors cite are even further afield. One
5     relied on the fact that the State’s brief “reveal[ed] divergent arguments” compared to
6     the Democratic Party intervenors’ brief, which is itself questionable application of Ninth
7     Circuit precedent. Paher v. Cegavske, No. 3:20-cv-243, 2020 WL 2042365, at *3 (D. Nev.
8     Apr. 28, 2020). In the other election case, intervention was unopposed, and the court
9     granted the motion “[w]ithout opining on the merits” of the intervention itself. Donald
10    J. Trump for President, Inc. v. Cegavske, No. 2:20-cv-1445, 2020 WL 5229116, at *1 (D. Nev.
11    Aug. 21, 2020).
12          Unsurprisingly, courts have denied intervention for these same reasons in other
13    NVRA cases. See Pub. Int. Legal Found., 2022 WL 21295936, at *11 (“While the positions
14    of the Proposed Intervenors and Secretary Benson may not identically align, their inter-
15    ests are sufficiently overlapping such that there is no substantial doubt that their con-
16    cerns about disenfranchisement are already being adequately represented by Michigan’s
17    Secretary of State.”); Green, 2023 WL 2572210, at *6 (ruling that the proposed interve-
18    nors failed to carry even “their ‘minimal’ burden of showing representational inade-
19    quacy”). In the end, the proposed intervenors claim nothing but “potential conflict” and
20    interests that are not “identical.” Doc. 7 at 16. Those unsupported claims do not make
21    a “very compelling showing” that the State defendants’ representation is inadequate.
22    Arakaki, 324 F.3d at 1086.
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1      II. The court should deny permissive intervention.
2            To obtain permissive intervention under Rule 24(b), proposed intervenors must
3     file a timely motion that showing that their claims share a question of law or fact with
4     the main action. S. Cal. Edison, 307 F.3d at 803-04. Even if those requirements are satis-
5     fied, “the district court retains discretion to deny permissive intervention.” Id. In exer-
6     cising that discretion, the court “must consider whether intervention will unduly delay
7     or prejudice the original parties and should consider whether the applicant’s interests are
8     adequately represented by the existing parties and whether judicial economy favors in-
9     tervention.” Miracle, 333 F.R.D. at 156.
10           Proposed intervenors’ should be denied intervention for three reasons. First, the
11    State defendants adequately represent the proposed intervenors’ interests. Because he
12    had concluded that the State did not adequately represent proposed intervenors, the
13    magistrate judge did not consider this factor. But this is an independent reason to deny
14    permissive intervention. The “[i]ntervenors’ interests are aligned with those of Defend-
15    ant[s],” who are “well-suited to defend” the claims in this case. Id. at 156 (denying per-
16    missive intervention based on adequate representation); see also United States ex rel. Rich-
17    ards v. De Leon Guerrero, 4 F.3d 749, 756 (9th Cir. 1993) (denying permissive intervention
18    to taxpayers where the governor adequately represented their interests). The existing
19    parties are “capable of developing a complete factual record,” Perry, 587 F.3d at 955-56,
20    and the proposed intervenors’ “participation is unnecessary to the full development of
21    this case,” Arizonans for Fair Elections, 335 F.R.D. at 276. As in other election cases, the
22    “[i]ntervenors’ interests align with the State’s,” and they have not shown that they “can
23    more adequately defend state laws than the State itself.” Id.
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1            Second, the proposed intervenors’ participation will delay proceedings and prej-
2     udice the parties. Because “[i]ntervening parties are entitled to all the rights and respon-
3     sibilities of original parties to litigation,” adding the intervenors will increase the costs
4     of litigation, make scheduling more cumbersome, and inevitably slow down proceedings.
5     Am. Ass’n of People with Disabilities, 257 F.R.D. at 259; see also Perry, 587 F.3d at 955-56
6     (upholding the district court’s determination that intervention “might very well delay the
7     proceedings, as each group would need to conduct discovery on substantially similar
8     issues,” which “in all probability would consume additional time and resources of both
9     the Court and the parties”). Even minor delays are especially problematic in “time sen-
10    sitive” election cases such as this one, where “the general election is fast approaching.”
11    Am. Ass’n of People with Disabilities, 257 F.R.D. at 259.
12           The report and recommendation concluded that there would not be undue delay
13    because proposed intervenors are not adding claims and this case is in the early stage.
14    R&R 8. But adding parties causes delay and complication even if they are not adding
15    claims. That’s why courts have denied permissive intervention in NVRA cases, recog-
16    nizing that “[a]dding three more defendants, even if they submit joint filings, realistically
17    portends more discovery and more motions, and therefore more time and resources
18    expended before a resolution of the important issues in this case can be rendered.” Pub.
19    Int. Legal Found., 2022 WL 21295936, at *12; see also Green, 2023 WL 2572210, at *7
20    (denying permissive intervention because the intervenors’ “participation would need-
21    lessly complicate this litigation, consuming additional resources of the court and the
22    parties, without any corresponding benefit” (cleaned up)). Because “timely resolution is
23    critical to the integrity of the election process, both its perceived and actual integrity,”
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     Case 2:24-cv-00518-CDS-MDC Document 85 Filed 06/07/24 Page 17 of 18



1     the Court should deny permissive intervention. Pub. Int. Legal Found., 2022 WL
2     21295936, at *12.
3           Third, the proposed intervenors have not pointed to any unique arguments or
4     positions they would take up that the State defendants will not. Indeed, their proposed
5     motion to dismiss confirms they offer nothing but duplicative arguments. They have
6     provided the Court with no reasons to believe their participation would help the Court
7     resolve the issues in this case. Any doubt on that score weighs in favor of permitting
8     them to participate as amici, as the Democratic National Committee has done in this
9     case. See Doc. 45. The report and recommendation never addressed this consideration.
10                                        CONCLUSION
11          This Court should reject the Magistrate Judge’s report and recommendation and
12    deny the motion to intervene.
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1     Dated: June 7, 2024                                Respectfully submitted,
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17
                                       CERTIFICATE OF SERVICE
18
             Plaintiffs’ OBJECTIONS TO REPORT AND RECOMMENDATION ON MOTION TO
19
      INTERVENE [ECF No. 68] was served on all appearing parties on the 7th day of June 2024 by elec-
20
      tronic service by way of the Court’s ECF System.
21
                                                   /s/ Jeffrey F. Barr
22                                                 An employee of Ashcraft & Barr LLP
23
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25                                                 18
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